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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOHN HALL, et al.,                                   )
                                                     )       No. 12 C 6834
                          Plaintiffs,                )
                                                     )
        v.                                           )
                                                     )       Judge Leinenweber
CITY OF CHICAGO, et al.,                             )       Magistrate Judge Gilbert
                                                     )
                          Defendants.                )


                     APPENDIX OF EXHIBITS IN SUPPORT OF
                 PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

Example Contact Card ............................................................................... Exhibit 1
Special Order 03-19 (June 13, 2003) ......................................................... Exhibit 2
Special Order 04-13-09 (Sept. 8, 2011) ...................................................... Exhibit 3
Special Order 04-13-09 (Feb. 23, 2012) ..................................................... Exhibit 4
Special Order 04-13-09 (April 3, 2014) ...................................................... Exhibit 5
Special Order 04-13-09 (January 1, 2017) ................................................ Exhibit 6
Special Order 04-13-09 (July 10, 2017) ..................................................... Exhibit 7
Contact Cards and ISRs By District ......................................................... Exhibit 8
Zack Kertcher Expert Report .................................................................... Exhibit 9
Bob Stewart Expert Report ....................................................................... Exhibit 10
Deposition of Officer Jeffrey Zwit .............................................................. Exhibit 11
Deposition of Officer Daniel Town............................................................. Exhibit 12
Deposition of Sergeant Richard Hainzl ..................................................... Exhibit 13
Deposition of Sergeant Carol Burns .......................................................... Exhibit 14
Deposition of Officer Dollie Friloux ........................................................... Exhibit 15
Deposition of Officer Michael Wuertz ....................................................... Exhibit 16
Deposition of George Gardner ................................................................... Exhibit 17
Deposition of Bonita Franks ...................................................................... Exhibit 18
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Deposition of Kim Pindak .......................................................................... Exhibit 19
Deposition of Vernon Dennis ..................................................................... Exhibit 20
Deposition of McArthur Hubbard.............................................................. Exhibit 21
Deposition of John Hall.............................................................................. Exhibit 22
List of Contact Cards for George Gardner ................................................ Exhibit 23
List of Contact Cards for Bonita Franks ................................................... Exhibit 24
List of Contact Cards for Kim Pindak ....................................................... Exhibit 25
List of Contact Cards for Vernon Dennis .................................................. Exhibit 26
List of Contact Cards for McArthur Hubbard .......................................... Exhibit 27
List of Contact Cards for John Hall .......................................................... Exhibit 28
Deposition of David Jarmusz ..................................................................... Exhibit 29
Deposition of Captain Karyn Murphy ...................................................... Exhibit 30
Deposition of Lieutenant Edwin Kaup ...................................................... Exhibit 31
Deposition of Officer Jon Patterson........................................................... Exhibit 32
Deposition of Garry McCarthy .................................................................. Exhibit 33
Deposition of Stephen Parker .................................................................... Exhibit 34
Deposition of Officer Richard Peplinski .................................................... Exhibit 35
Special Order 04-13-09 (January 1, 2016) ................................................ Exhibit 36
ISR System Training (Excerpts)................................................................ Exhibit 37
Training Calendars .................................................................................... Exhibit 38
ASK ISR Email........................................................................................... Exhibit 39
CompStat Meeting Notes 2-15-12 (Excerpt) ............................................. Exhibit 40
CompStat Meeting Notes 10-17-11 (Excerpt) ........................................... Exhibit 41
CompStat Meeting Notes 8-12-11 (Excerpt) ............................................. Exhibit 42
CompStat Meeting Notes 5-2-12 (Excerpt) ............................................... Exhibit 43
CompStat Meeting Notes 3-6-13 (Excerpt) ............................................... Exhibit 44
CompStat Meeting Notes 5-20-13 (Excerpt) ............................................. Exhibit 45
CompStat Meeting Notes 8-5-11 (Excerpt) ............................................... Exhibit 46
6-4-14 Contact Card for George Gardner .................................................. Exhibit 47
12-5-11 Contact Card for George Gardner ................................................ Exhibit 48
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3-27-11 Contact Card for Bonita Franks................................................... Exhibit 49
9-28-15 Contact Card for Bonita Franks................................................... Exhibit 50
6-24-14 Contact Card for John Hall .......................................................... Exhibit 51
1-20-13 Contact Card for Kim Pindak....................................................... Exhibit 52
4-30-10 Contact Card for McArthur Hubbard .......................................... Exhibit 53
8-1-13 Contact Card for Vernon Dennis .................................................... Exhibit 54
Seattle Police Department Policy 6.220 .................................................... Exhibit 55
Deposition of Erin Hansen......................................................................... Exhibit 56
9-7-11 Contact Card for John Hall ............................................................ Exhibit 57
11-5-15 Contact Card for Kim Pindak....................................................... Exhibit 58
Street Stops Supreme Court Guidelines Training Video ......................... Exhibit 59
